Case 18-55697-lrc    Doc 316     Filed 09/30/20 Entered 09/30/20 15:02:55            Desc Main
                                 Document     Page 1 of 6




    UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF GEORGIA

                                          ).
                                           /
 CASSANDRA JOHNSON -LANDRY                     )
 DEBTOR                                   )            CASE NUMBER 18-55697LRC
                                          )

                                          )               CHAPTER 7




                                                                                    If

       MOTION: CORRECTION OF ABANDONMENT SUBMITTED ON 2/15/201IP


       Debtor currently requests correction regarding Abandonment List submitted by
       Trustee, S. Gregory Hays on 2/15/20019. Trustee listed Attachment and Bonding
       Center of Atlanta without recognizing it being a Limited Liability Company. Please
       note Debtor identified Trustee's oversight as the result of being contacted in regards
       to outstanding money which is owed to the Attachment and Bonding Center of
       Atlanta recently. Debtor is sure this was in error on Trustee's behalf.



       Respectfully Submitted.

       9/30/2020
       s/Cassandra Johnson-Landry

       Cassandra Johnson-Landry, Pro Se
Case 18-55697-lrc   Doc 316   Filed 09/30/20 Entered 09/30/20 15:02:55   Desc Main
                              Document     Page 2 of 6




                    EXHIBIT A
Case 18-55697-lrc       Doc 316    Filed 09/30/20 Entered 09/30/20 15:02:55                      Desc Main
                                   Document     Page 3 of 6


                          STATE OF GEORGIA
                                    Secretary of State
                                     Corporations Division
                                        313 West Tower
                                  2 Martin Luther King, Jr. Dr.
                                  Atlanta, Georgia 30334-1530



ANNUAL REGISTRATION                                                 *Electronically Filed*
                                                                    Secretary of State
                                                                    Filing Date: 4/2/2018 12:09:34 AM




CONTROL NUMBER              0241437
BUSINESS NAME               ATTACHMENT & BONDING CENTER OF ATLANTA, LLC
BUSINESS TYPE               Domestic Limited Liability Company
EFFECTIVE DATE              04/02/2018


 ' tc01;
                            3548 HABERSHAM AT NORTHLAKE, BUILDING F, TUCKER, GA, 30084-
ADDRESS
                            4009, USA




NAME                        ADDRESS
CASSANDRA JOHNSON-
                            869 Natchez Valley Trace, Gwinnett, Grayson, GA, 30017, USA
LANDRY


    11,g•1:4. (1. 14,
       t
AUTHORIZER SIGNATURE        Cassandra Johnson Landry
AUTHORIZER TITLE            Organizer
Case 18-55697-lrc   Doc 316   Filed 09/30/20 Entered 09/30/20 15:02:55   Desc Main
                              Document     Page 4 of 6




                    EXHIBIT 13
Case 18-55697-lrc       Doc 316    Filed 09/30/20 Entered 09/30/20 15:02:55                         Desc Main
                                   Document     Page 5 of 6

                          STATE OF GEORGIA
                                    Secretary of State
                                     Corporations Division
                                        313 West Tower
                                  2 Martin Luther King, Jr. Dr.
                                  Atlanta, Georgia 30334-1530

Annual Registration                                                  *Electronically Filed*
                                                                     Secretary of State
                                                                     Filing Date: 04/15/2019 10:51:23



BUSINESS NAME                     : ATTACHMENT & BONDING CENTER OF ATLANTA, LLC
CONTROL NUMBER                    : 0241437
BUSINESS TYPE                     : Domestic Limited Liability Company

                                         tri
                                  : 3548 HABERSHAM AT NORTHLAKE, BUILDING F, TUCKER, GA,
PRINCIPAL OFFICE ADDRESS
                                  30084-4009, USA
REGISTERED AGENT NAME             : CASSANDRA JOHNSON-LANDRY
REGISTERED OFFICE ADDRESS         : 869 Natchez Valley Trace, Grayson, GA, 30017, USA
REGISTERED OFFICE COUNTY          : Gwinnett



PRINCIPAL OFFICE ADDRESS          : 869 natchez valley trace, BUILDING F, Grayson, GA, 30017-4009, USA
REGISTERED AGENT NAME             : CASSANDRA JOHNSON-LANDRY
REGISTERED OFFICE ADDRESS         : 869 Natchez Valley Trace, Grayson, GA, 30017, USA
REGISTERED OFFICE COUNTY          : Gwinnett

                't6)4

AUTHORIZER SIGNATURE              : cassandra johnson-landry
AUTHORIZER TITLE                  : Organizer
Case 18-55697-lrc    Doc 316   Filed 09/30/20 Entered 09/30/20 15:02:55   Desc Main
                               Document     Page 6 of 6




   UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF GEORGIA



                           CERTIFICATE OF SERVICE


 I CASSANDRA JOHNSON-LANDRY, currently submit MOTION: CORRECTION OF
 ABANDONMENT SUBMITTED ON 2/15/2019, Copies of submitted Motion and Certificate
 are requested to be submitted to BRC Matrix/Mailing List.




 Respectfully Submitted.
 9/30/2020
 s/Cassandra Johnson-Landry

 Cassandra Johnson-Landry, Pro Se
